Dear Senator Wolfe,
The Attorney General has received your request for an opinion wherein you asked in effect the following question:
If a Notice of Termination is given in the middle of the month, andspecifies the tenancy to terminate thirty (30) days later, does thetenancy terminate upon the expiration of the thirty (30) days?
On October 31, 1978, the new Residential Landlord/Tenant Act went into effect. The new Act applies to rights, obligations and remedies under a rental agreement for a dwelling unit located in Oklahoma. 41 O.S. 103 (1978).
In 41 O.S. 111(a) (1978), it is so stated:
  "Except as otherwise provided in this Act, when the tenancy is month to month, the landlord or tenant may terminate the tenancy provided he gives a written notice to the other at least thirty (30) days before the date upon which the termination is to become effective."
If notice does not specify date, it is presumed to be thirty (30) days notice from the date notice is given. The statute, therefore, changes the common law. Nothing in the statute prohibits more notice than thirty (30) days. If agreed to by the parties more than a thirty (30) day notice may be given.
Therefore, it is the opinion of the Attorney General, that thirty (30)days notice of intent to terminate a tenancy on a month to month basisruns from the date the notice of termination is given, unless otherwiseagreed to between the landlord and tenant.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
STEPHEN F. SHANBOUR, ASSISTANT ATTORNEY GENERAL